          Case 1:18-cv-00152-JEB Document 83 Filed 12/06/18 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 RONNIE MAURICE STEWART, et al.,                       )
                                                       )
                Plaintiffs,                            )
                                                       ) No. 1:18-cv-152 (JEB)
        v.                                             )
                                                       )
 ALEX M. AZAR II , et al.,                             )
                                                       )
                Defendants.                            )


          JOINT MOTION REGARDING PROPOSED BRIEFING SCHEDULE

       On November 20, 2018, the Secretary of the Department of Health and Human Services

again approved the Kentucky HEALTH project pursuant to Section 1115 of the Social Security

Act, 42 U.S.C. § 1315. The approval permits Kentucky to implement the project on or after April

1, 2019. The parties have conferred and submit the following proposed briefing schedule, which

would allow for the parties’ motions on the merits of this case to be ripe for decision in advance

of April 1, 2019:

       December 17, 2018: Defendants produce administrative record

       January 14, 2019: Plaintiffs’ First Amended Complaint and Plaintiffs’ Motion for
       Summary Judgment

       January 28, 2019: Defendants’ and Intervenor’s Oppositions to Plaintiffs’ Motion and
       Defendants’ and Intervenor’s Motions to Dismiss and/or Motions for Summary Judgment

       February 11, 2019: Plaintiffs’ Opposition to Defendants’ and Intervenor’s Motions and
       Plaintiffs’ Reply in Support of their Motion

       February 22, 2019: Defendants’ and Intervenor’s Replies in Support of their Motions

The parties agree to stay Defendants’ obligation to Answer the First Amended Complaint until

resolution of these motions.


                                                 1
         Case 1:18-cv-00152-JEB Document 83 Filed 12/06/18 Page 2 of 3



Dated: December 6, 2018                           Respectfully submitted,


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                                            2
          Case 1:18-cv-00152-JEB Document 83 Filed 12/06/18 Page 3 of 3



                             CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2018, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, which will send an electronic notice to the Defend-

ants’ attorneys of record.


                                             By:    /s/ Catherine McKee
                                                    Catherine McKee




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